c_~3.
JS 44 (Rev. 12/12)
                                                            J
                                      Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 1 of 10

                                                                               CIVIL COVER SHEET
                                                                                                                                                                            ~·_rs- L\/- ~~                 4   5
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS
                       ANNAMARIA M. PATTERSON
                                                                                                                DEFENDANTS
                                                                                                                        MONARCH RECOVERY MANAG
                                                                                                                                                                            1
        (b) County of Residence of First Listed Plaintiff                                                      County of Residence of First Listed                     Defend~!
                                (EXCEPT IN US. PLAIN                                                                                 (IN US. PLAINTIFlf CASES ONLY)
                                                                                                                NOTE: IN LAND CONDEMNATION CASE
                                                                                                                        THE TRACT OF LAND INVOLV

        (c)   Attorneys (Firm Name, Address, and Telephon\Number)                                               Attorneys (If Known)
                     BARS HAY SANDERS, PLLC
                     I 00 Garden City Plaza, Ste 500, Gar•
                      516) 203-7600
II. BASIS OF JURISIJYCTl.ON                        (Place an "X" in One Box Only)                 III. CITIZENSHIP OF PRINCIPAL PARTIES                                                (Place an "X" in one Box for Plainriff
                                                                                                      (For DiversityCaresOriy)                                                                  aniOne Boxfor Defarlan1)
0 I           U.S. Government                   Federal Question                                                                        PTF                DEF                                             PIF         DEF
               Plaintiff                         (US. Government Not a Party)                         Citizen of This State             0 I          0            I   Incorporated or Principal Place      0      4    0 4
                                                                                                                                                                        of Business In This State

0 2        U.S. Government                      Diversity                                             Citizen of Another State          02                0 2         Incorporated and Principal Place     0     5    05
             Defendant                           (Indicate Citizenship of Parties in llem 111)                                                                          of Business In Another State

                                                                                                      Citizen or Subject ofa            0 3               0 3         Foreign Nation                       0     6    06
                                                                                                          Foreign Coun
IV. NATURE OF SUIT                      (Place an "X" in One Box Only)
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0    110 Insurance                        PERSONAL INJURY                      PERSONAL INJURY 10 625 Drug Related Seizure of                  o 422 Appeal 28 USC 158                     0 375 False Claims Act
0    120 Marine                         0 310 Airplane                    0 365 Personal Injury -             Property 21 USC 881                                                          0 400 State Reapportionment
                                                                                                                                               l0   423 Withdrawal
0    130 Miller Act                     0 315 Airplane Product
                                        1                                         Product Liability    0 690 Other                                     28 USC 157                          0 4 JO Antitrust
0    140 Negotiable Instrument                 Liability                  0 367 Health Care/                                                   i...--~~~~~~~......i 0 430 Banks and Banking
0    150 Recovery of Overpayment &      IO 320 Assault, Libel &                    Pharmaceutical                                              J%.!!ifPRORERT:YtRJGHTSlo/llit; ''? O 450 Commerce
          Enforcement of Judgment              Slander                             Personal lnjmy                                              0 820 Copyrights                    O 460 Deportation
0    151 Medicare Act                   0 330 Federal Employers'                   Product Liability                                           0 830 Patent                                  470 Racketeer Influenced and
0    152 Recovery of Defaulted                 Liability                  0 368 Asbestos Personal                                              0 840 Trademark                                    Corrupt Organizations
          Student Loans                 0 340 Marine                               Injury Product                                                                                          • 80 Consumer Credit
           (Excludes Veterans)          0 345 Marine Product                       Liability                                                         :        J i'
                                                                                                                                                          1 • '                            0 90 Cable/Sat TV
0    153 Recovery of Overpayment               Liability                    PERSONAL PROPERTY 0 710 Fair Labor Standards                       0    861   HIA (1395ft)                       850 Securities/Commodities/
           of Veteran's Benefits        0 350 Motor Vehicle               O 370 Other Fraud                   Act                              0    862   Black Lung (923)                        Exchange
0    160 Stockholders' Suits               355 Motor Vehicle              O 371 Truth in Lending       0 720 Labor/Management                  0    863   DIWC/DIWW (405(g))               O 890 Other Statutory Actions
0    190 Other Contract                                                   0 380 Other Personal                Relations                        0    864   SSID Title XVI                   0 891 Agricultural Acts
0    195 Contract Product Liability                                                Property Damage     0 740 Railway Labor Act                      865   RSI (405(g))                     0 893 Environmental Matters
0    196 Franchise                                                        O 385 Property Damage        0 751 Family and Medical                                                            0 895 Freedom oflnformation
                                                                                   Product Liability          Leave Act                                                                           Act
                                                                                                       0 790 Other Labor Litigation
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0   2 I 0 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                    Income Security Act
                                                                                                                                               tBEl!iI>~~11lIIFSB
                                                                                                                                                0 870 Taxes (U.S. Plaintiff
                                                                                                                                                                                           0 899 Administrative Procedure
                                                                                                                                                                                                  Act/Review or Appeal of
0   220 Foreclosure                       441 Voting                   0 463 Alien Detainee                                                            or Defendant)                              Agency Decision
0   230 Rent Lease & Ejectrnent         0 442 Employment               0 510 Motions to Vacate                                                 10 871 IRS-Third Party                      0 950 Constitutionality of
0   240 Torts to tand                   0 443 Housing/                        Sentence                                                                 26 USC 7609                                State Statutes
0   245 Tort Product Liability                 Accommodations          0 530 General
0   290 All Other Real Property           445 Amer. w/Disabilities -   0 535 Death Penalty           1~?:!f~iz'h\J;IMMJ'cm\."tl'.9N!Illi%1i!
                                               Employment                 Other:                     0 462 Naturalization Application
                                          446 Amer. w/Disabilities -   0 540 Mandamus & Other           0 465 Other Immigration
                                               Other                   0 550 Civil Rights                Actions
                                          448 Education                0 555 Prison Condition
                                                                       0 560 Civil Detainee
                                                                               Conditions of
                                                                               Confinement

     -- RIGIN           (Place an "X" in One Box Only)
    •      Original             O 2 Removed from            0 3 Remanded from                    0 4 Reinstated or        0 5 Transferred from                        0 6 Multidistrict
            roceeding                State Court                       Appellate Court                Reopened                 Another District                            Litigation
\:;                                                                                                                              (specifY)

    -v                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): 15 USC § 1692
VI. CAUSE OF ACTION                          Brief description of cause:
                                                                                 Fair Debt Collection Practices Act Violation
VII. REQUESTED IN            0                 CHECK IF THIS IS A CLASS ACTION                          DEMAND $1000.00                                               CHECK YES only iydemanli;I in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                                                                           yJ; 0
                                                                                                                                                                                          u                          s1T,
                                                                                                                                                             JURY DEMAND: /                    •           No
VIII. RELATED CASE(S)
      IF ANY (See instructions).                                   JUDGE                                                                                  DOCKET NUMBER

DATE
               July 2, 2015                                                                                                                                            ==--                        JUL 10 201..,,
FOR OFFICE USE ONLY

     RECEIPT#                        AMOUNT                                    APPL YING IFP                                                                                  MAG.JUDGE
                                 Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 2 of 10

                                                                    ITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA -                           DESIGNATION FORM to be usedfby counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.
              . .
Address of Plamt1ff:
                               66 Sunset Ave. FARMINGDALE. New York 11735                                                                          ~
                                                                                                                                              fL'' (5))                 ii')
                                                                                                                                                                        U      8 °'t @2
                                                                                                                                                                               Q     ,   V!J

Address of Defendant:          I 0965 Decatur Road, PHILADELPHIA, Pennsylvania 19154


Place of Accident, Incident or Transaction: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                                (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation ownin                            more of its stock?
      (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                   Yes


Does this case involve multidistrict litigation possibilities?                                                                      Yes    DI    No    l!I
RELATED CASE, IF ANY:
Case Number:                                         Judge                                              Date Terminated: - - - - - - - " ' - " " " " - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

1.     ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                  Yes D No l!I
2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
       action in this court?
                                                                                                                                  Yes      DNo l!I
3.     Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
       terminated action in this court?                                                                                              Yes   D      No      l!I
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                     Yes   D      No      l!I
CIVIL: (Place .,,   in ONE CATEGOR y ONLY)
A. Federal Question Cases:                                                                                   B. Diversity Jurisdiction Cases:
 I.    D   Indemnity Contract, Marine Contract, and All Other Contracts                                      I.   D   Insurance Contract and Other Contracts
 2.    0   FELA                                                                                              2.   D   Airplane Personal Injury
2.  D Jones Act-Personal Injury                                                                              3.   D   Assault, Defamation
4. D Antitrust                                                                                               4.   D   Marine Personal Injury
5. D Patent                                                                                                  5.   D   Motor Vehicle Personal Injury
6. D Labor-Management Relations                                                                              6.   D   Other Personal Injury (Please specify)
7. D Civil Rights                                                                                            7.   D   Products Liability
8. D Habeas Corpus                                                                                           8.   D   Products Liability -Asbestos
9. D Securities Act(s) Cases                                                                                 9.   D   All other Diversity Cases
10. D Social Security Review Cases                                                                                    (Please specify)

ll~other               Federal Question Cases
           (Pl ase specify) FDCPA 15 U.S C. 1692

                                                                       ARBITRATION CERTIFICATION
                                                                              (Check Appropriate Category)
I,                                                               , counsel of record do hereby certify:
       D   Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum
of$150,000.00 exclusive of interest and costs;
       D   Relief other than monetary damages is sought.

DATE:                       July 2, 2015                                                                                                        314730
                                                                            aw                                                                Attorney I.D.#
                                           NOTE: A triall'8e novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.


I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted a hove.

DATE:        July 2, 2015                                                                                                                       314730
                                                                                                                                                                     JUl 10 2015
                                                              Attorney-at-Law                                                              Attorney I.D.#


 CIV. 609 (5/2012)
              Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 3 of 10



                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                   CASE MANAGEMENT TRACK DESIGNATION FORM

                                                                   CNILACTION
Annamaria M. Patterson

                               v.                                  NO.
                                                                                         15                3845
Monarch Recovery Management, Inc.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time
of filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the
reverse side of this form.) In the event that a defendant does not agree with the plaintiff regarding
said designation, that defendant shall, with its first appearance, submit to the clerk of court and
serve on the plaintiff and all other parties, a Case Management Track Designation Form
specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus-Cases brought under 28 U.S.C. § 2241 through§ 2255.                                         ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                            ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                                     ( )

(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management
    by the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

( f) Standard Management - Cases that do not fall into any one of the other tracks.                      B    ( )




  """"""
Date

  (516) 203-7600
                            ~taW     /_____,
                                    (516) 282-7878
                                                     ---------            ''"""""
                                                                    ---'A...;;;t,;.,;.to"""r-n_e_y_i_o_r_ _ _ _ _ __

                                                                          mpirillo@sanderslawpllc.com


Telephone                            FAX Number                           E-Mail Address



(Civ. 660) 10/02




                                                                                                  JUL 10 2015.
                                 Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 4 of 10




                     BARSHAY SANDERS, PLLC
                     100 Garden City Plaza, Suite 500
                     Garden City, New York 11530
                     Tel: (516) 203-7600


                                                                                                              ~~~~'S
                     Fax: (516) 706-5055
                     Email: ConsumerRights@BarshaySanders.com
                     Attorneys for Plaintiff
                     Our File No.: 109367

                                               UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF PENNSYLVANIA



                     ANNAMARIA M. PATTERSON,                                    Docket No:        15            3845
                                            Plaintiff,                          COMPLAINT

                                                 vs.
 uo                                                                             JURY TRIAL DEMANDED
 i~g
r;/)   ~ ~           MONARCH RECOVERY MANAGEMENT, INC.,
~      ;:i~
w [/)"       ~
Cl <         0
Z      ~  >-                               Defendant.
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r;/)   [;l   i'.ii          ANNAMARIA M. PATTERSON (hereinafter referred to as "Plaintiff'), by and through
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cx:i;:;      v       the undersigned counsel, complains, states and alleges against MONARCH RECOVERY
                     MANAGEMENT, INC. (hereinafter referred to as "Defendant"), as follows:
                                                             INTRODUCTION
                            1.      This action seeks to recover for violations of the Fair Debt Collection Practices
                     Act, 15 U.S.C. § 1692, et seq., ("FDCPA") and New York General Business Law ("NYGBL") §
                     349.
                                                         JURISDICTION AND VENUE
                            2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                     and 15 U.S.C. § 1692k(d), and jurisdiction over the state law claims pursuant to 28 U.S.C. §
                     1367
                            3.      This Court has personal jurisdiction over Defendant because Defendant maintains
                     its principal place of business in Pennsylvania.
                                                                                                                         ,/




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                              Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 5 of 10




                        4.        Venue is proper under 28 U.S.C. §139l(b) because Defendant resides in this
                 Judicial District and/or because a substantial part of the events or omissions giving rise to this
                 claim occurred in this Judicial District.
                         5.       At all relevant times, Defendant conducted business within the State of
                 Pennsylvania.
                                                               PARTIES

                        6.        Plaintiff is an individual who is a citizen of the State of New York.
                        7.        Plaintiff, a "consumer" as defined by 15 U.S.C. § 1692a(3), is allegedly obligated
                 to pay a debt.
                         8.       On information and belief, Defendant's principal place of business is located in
                 Philadelphia, Pennsylvania.
                         9.       Defendant is regularly engaged, for profit, in the collection of debts allegedly
                 owed by consumers.
 uO
 i~~                      10.     Defendant is a person who uses an instrumentality of interstate commerce or the
[/)~~
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t.ll "'. ~       mails in a business the principal purpose of which is the collection of debts, or who regularly
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                 collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
>- § ~-          due another, and is therefore a "debt collector" as defined by 15 U.S.C. § 1692a(6).
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r2      ~~                                                   ALLEGATIONS
~SCI

                          11.     Plaintiffs alleged debt was primarily for personal, family or household purposes
                 and is therefore a "debt" as defined by 15 U.S.C. § 1692a(5).
                          12.     Sometime after the incurrence of the debt, but before the initiation of this action,
                 Plaintiff is alleged to have fallen behind on payments allegedly owed on the alleged debt.
                          13.     At a time known only to Defendant, Plaintiffs alleged debt was assigned or
                 otherwise transferred to Defendant for collection.
                          14.     In its efforts to collect the alleged debt, Defendant contacted Plaintiff by written
                 correspondence. ("Exhibit l .")
                          15.     Defendant's written correspondence to Plaintiff is a "communication" as defined
                 by 15 U.S.C. § 1692a(2).
                          16.     As set forth in the following Counts, Defendant's communication violated the
                 FDCPA and NYGBL.


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                              Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 6 of 10




                                                            FIRST COUNT
                                                     Violation of 15 U.S.C. § 1692f
                                               Disclosure of Plaintiffs Account Number

                           17.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                           18.    15 U.S.C. § 1692f provides a debt collector may not use unfair or unconscionable
                  means to collect or attempt to collect any debt.
                           19.    15 U.S.C. § 1692f(8) limits the language and symbols that a debt collector may
                  place on envelopes it sends to consumers.
                          20.     15 U.S.C. § 1692f(8) prohibits a debt collector from using any language or
                  symbols on the envelope, other than the debt collector's address, when communicating with a
                  consumer by mail, except that a debt collector may place its business name on the envelope if
                  such name does not indicate that the debt collector is in the debt collection business.
                          21.     15 U.S.C. § 1692f(8)'s prohibition applies to language and symbols both on the
 uo               envelope, and language and symbols visible through any glassine window of the envelope. See,
 ~~~
r:/l ~ ~          Douglass v. Convergent Outsourcing, 765 F.3d 299 (3rd Cir 2014).
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z j:;
o<o                       22.     15 U .S.C. § l 692f(8) prohibits a debt collector's disclosure of the debtor's account
-< ~        Ul
r:/l Ez.          number on the envelope. Id.
>-   u      E
~~~                       23.     15 U.S.C. § 1692f(8) prohibits a debt collector's disclosure of the debtor's account
~~~
-<  0       '"'
                  number by making such visible through any glassine window of the envelope. Id.
o:i ;::     v
                          24.     Defendant assigned Plaintiff account number XXXX8155.
                          25.     Defendant disclosed Plaintiffs account number in its mailing to Plaintiff by
                  placing such on the envelope, or making such visible through the glassine window of the
                  envelope.
                          26.     Defendant has violated § l 692f by disclosing Plaintiffs account number in its
                  mailing to Plaintiff.


                                                          SECOND COUNT
                                          Violation of New York General Business Law§ 349

                          27.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                          28.     Defendant owed a duty to Plaintiff to effect its collection of Plaintiffs alleged
                  debt with reasonable care.
                           29.    Defendant's conduct as described herein shows a lack of exercise of reasonable


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                              Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 7 of 10




                    care in Defendant's collection of the alleged debt.
                            30.        Defendant breached its duty to collect Plaintiffs alleged debt with reasonable
                    care.
                            31.        Defendant's conduct was committed by Defendant in the conduct of a business,
                    trade or commerce or the furnishing of a service in New York State and constitutes a violation of
                    NY GBL § 349(a).
                            32.        Defendant's conduct was consumer-orientated in that the letter was sent in an
                    effort to collect an alleged consumer debt.
                            33.        Defendant's conduct has a broader impact on consumers at large as, upon
                    information and belief, Defendant has sent the subject form letter to hundreds of consumers.
                            34.        Plaintiff is a reasonable consumer.
                            35.        Defendant's conduct would mislead a reasonable consumer.
                            36.        Defendant engaged in a material deceptive act or practice as described herein.
 uo
 ~::;;:      0              37.        Defendant's conduct caused plaintiff to suffer injury.
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~ ;:i-
                            38.        Defendant violated NY GBL § 349(a) and is liable to Plaintiff pursuant to NY
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Cl
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z       ~ >-        GBL § 349(h).
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;;... . . . uz -~                                               JURY DEMAND
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CZI :( «i                   39.        Plaintiff hereby demands a trial of this action by jury.
~ CJ ~
O'.l    §CJ
                                                            PRAYER FOR RELIEF

                            WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                  a.       Statutory damages against Defendant pursuant to 15 U.S.C. § 1692k of

                                           $1,000.00; and
                                  b.       Plaintiffs attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                                  c.       Plaintiffs actual damages; and
                                  d.       Damages against Defendant pursuant to NYGBL § 349; and

                                  e.       Plaintiffs costs; together with
                                  f.       Such other relief that the Court determines is just and proper.




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                            Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 8 of 10




                    DATED: July 2, 2015




                                                          iss~. Pirillo
                                                      BARSHA Y SANDERS, PLLC
                                                      100 Garden City Plaza, Suite 500
                                                      Garden City, New York 11530
                                                      Tel: (516) 203-7600
                                                      Fax: (516) 706-5055
                                                      ConsumerRights@BarshaySanders.com
                                                      Attorneys for Plaintiff
                                                      Our File No.: 109367




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Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 9 of 10




     1 !ISIHX3
     Case 2:15-cv-03845-CDJ Document 1 Filed 07/10/15 Page 10 of 10
                                                                                 MONARCH
10965 ?rcatur Road                                                           Recovery Management, Inc.
Philadel hia PA 19154-3210
RETUR SERVICE REQUESTED

                                                                                                    8155




                                                                         Make Check Payable to: Citibank


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     111•lllll11ll•l1l11ll111l11hll111l1liJllll11l•l11lnu                    MONARCH RECOVERY MANAGEMENT, INC.
ANNA RIA MARI PATTERSON                                                      P.O. BOX 16119
66 Suns tAve                                                                 PHILADELPHIA PA 19114-0589
Farming ale NY 11735-5359




                                                                       Pay Online: ACH accepted https:l/mrm.webvlew.com

                                    • Detach and Return Top Portion to Expedite Your Account•




                                                                              THE HOME DEPOT



We ar~sending you this letter in an attempt to clear thisiaccount. Our client will accept the below settlement
amoun to satisfy this account. This settlement offer will lexpire on December 21, 2014. If you are able to take
advan ge of this offer, upon receipt and clearance of ttfese funds, your account will be marked as settled and you
will be elieved of any further responsibility pertaining to this account.

                             .... SETTLEMENT AMOUNT $7F7.18                 YOU SAVE $888.78 ••••

If, at th'r time, you are unable to take advantage of the dffer, please contact our office to discuss payment options.
                                                              I
When~ er $600.00 or more in principal of a debt is discmarged as a result of settling a debt for less than the
balanc owing, the creditor may be required to report the amount of the debt discharged to the Internal Revenue
Servic on a 1099C form, a copy of which would be mailed to you by the creditor. If you are uncertain of the legal or
tax co sequences, we encourage you to consult your legal or tax advisor.

This is     n attempt by a debt collector to collect a debt. ,4y information obtained will be used for that purpose. This
comm      nication is from a debt collector. If you pay us byjcheck or check by phone, your transaction will be
conve     ed to an ACH. When you provide a check as pa~ment, you authorize us, either to use information from your
check     o make a one-time electronic fund transfer from your account or to process the payment as a check
transa    tion. Additionally, the check writer authorizes Moparch or its agent to re-present the check electronically if
the ch    ck is returned for insufficient or uncollected fund~.
                                                              I
If you ave a complaint about the way we are collecting ~is debt, please write to our Compliance Center at 10965
Decat r Road, Philadelphia, PA 19154, email us at combliance@monarchrm.com, or call us toll-free at 1-800-220-
0605 e . 2261, between 9:00 AM. Eastern Time and 5100 P.M. Eastern Time Monday-Friday.

Yours ruly,                                                   I
MAT FITHIAN DEBT COLLECTOR EXT 2730
TOLL REE 800-220-0605                                         I
New Y rk City Department of Consumer Affairs Ucens,#1345051 and #1345050.
                                                                                                               392CZMORM01_S45CIT


                                                              I




                     Monarch Recovery Management, Inc. •          0965 Decatur Road • Philadelphia, PA 19154
                         1(800) 220-0605or1(215) 281-7500          Hours: M-TH Barn -11pm, F Sam - 5pm
